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                                                    U.S. Department of Justice

                                                    Civil Division
JAY:NAW:FEBoujaoude                                 Commercial Litigation Branch
46-57-1501                                          Fraud Section


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                                                    June 15, 2023

VIA ELECTRONIC MAIL

Special Master Cohen
Carl B. Stokes U.S. Courthouse
801 West Superior Avenue
Cleveland, OH 44113-1837
David@SpecialMaster.Law

       Re: In re National Prescription Opiate Litigation, No. 17-md-2804: Dispute
       Regarding DEA’s Production of ARCOS Transactional Data for 2015 to 2019

Dear Special Master Cohen:

        The Department of Justice, on behalf of the Drug Enforcement Administration (“DEA”),
respectfully submits this letter in opposition to the Plaintiffs’ Executive Committee’s (“the
PEC”) June 8, 2023 motion to enforce a subpoena (“the Subpoena”) to DEA for production of
certain Automation of Reports and Consolidated Orders Systems (“ARCOS”) data. Specifically,
the PEC seeks complete transactional data for all prescription buprenorphine, codeine,
dihydrocodeine, fentanyl, hydrocodone, hydromorphone, levorphanol, meperidine, methadone,
morphine, opium powdered, oxycodone, oxymorphone, and tapentadol transactions in all states
and territories in the United States for the period of January 1, 2015 through December 31, 2019.

       For the reasons set forth below, the Subpoena disregards the balanced approach to the
disclosure of ARCOS data set forth by this Court’s prior orders, imposes an undue burden on
DEA that is disproportionate to the needs of the case at this juncture, and fails to provide a
reasonable time to comply. Accordingly, the Court should deny the PEC’s motion.

                           RELEVANT PROCEDURAL HISTORY

      The dispute over ARCOS data predates the MDL. Plaintiffs first sought access to the
ARCOS database via a Touhy request in early October 2017 for use in City of Cincinnati v.
AmerisourceBergen Drug Corp., an early opioid case out of the U.S. District Court for the
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Southern District of Ohio. See Order re: ARCOS/DADS Database at 1, ECF No. 112 (setting
forth history of the ARCOS dispute).1 DEA denied that request in light of an order staying
discovery pending a decision of the Judicial Panel on Multidistrict Litigation whether to create
an MDL. Id. at 2. Chief Judge Sargus, who was presiding over that case and eighteen other
related opioid cases, entered an order authorizing the City of Cincinnati to serve a subpoena for
ARCOS data to tee up the dispute for the judge who would ultimately preside over the MDL. Id.
at 1.

        On February 2, 2018, after creation of the MDL, Judge Polster directed the MDL
Plaintiffs and DEA to meet and confer regarding an ARCOS production noting both “the
legitimate need for Plaintiffs to obtain this data” and the need to tailor the production “in a way
to address the DEA’s concerns.” Id. at 2. Because the parties could not agree to parameters for
the production, the Court held a hearing on February 26, 2018. At that hearing, Judge Polster
repeatedly emphasized the need for a balanced approach to the production of ARCOS data. See
Tr. at 15, ECF No. 156.

        On April 11, 2018, the Court ordered DEA to produce complete transactional data on
four drugs across six states from 2006 through 2014. Order Re ARCOS Data at 1, ECF No. 233.
One month later, the Court expanded the directive to include transactional ARCOS data for the
same four drugs across all fifty states. Second Order Re ARCOS Data at 2, ECF No. 397. And
after yet another request, the Court ordered DEA to produce transactional ARCOS data for an
additional ten drugs. Third Order re ARCOS Data at 2, ECF No. 668.

        As the Court is aware, ARCOS data was initially produced pursuant to a protective order.
See generally Protective Order, ECF No. 167. On June 13, 2018, several media companies
intervened in the case seeking access to the data. See Briefing Order re Public Record Requests
at 2 n.1, ECF No. 611; Br. in Support of Disclosure of ARCOS Data, ECF No. 718. Ultimately,
this Court denied their request. In re Nat’l Prescription Opiate Litig., 325 F. Supp. 3d 833 (N.D.
Ohio 2018). The companies appealed to the Sixth Circuit, which vacated the protective order.
In re Nat’l Prescription Opiate Litig., 927 F.3d 919 (6th Cir. 2019). DEA’s objections to
production below are separate and distinct from the questions addressed in the Sixth Circuit’s
decision.

                                          ARGUMENT

      I.     The Subpoena Contravenes the Balanced Approach Set by the Court’s June 26,
             2018 Order

        In response to the PEC’s prior requests for ARCOS data, Judge Polster has carefully
balanced the needs of the Plaintiffs for this data against the government’s law enforcement and
resource concerns. Consistent with this balanced approach, when Judge Polster ordered DEA to
produce the final tranche of ARCOS data in June 2018, he stated that “[t]his directive for release
of additional ARCOS data will be the last one made by the MDL court.” Third Order Re
ARCOS Data at 2, ECF No. 668 (emphasis supplied). That instruction was made after three


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    All ECF citations refer to the MDL docket.
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separate requests by the PEC for more data. Thus, notwithstanding the Court’s recognition that
the data had been “very helpful,” id. at 1, it also reasonably concluded that the PEC’s access to
ARCOS data should not be unlimited. And while this Court’s imposition of a protective order
governing ARCOS data was overturned by the Sixth Circuit, nothing in the Court of Appeals’
decision disturbs the prior balance appropriately struck by Judge Polster regarding the further
production of ARCOS data, which is binding on the Special Master. See La Buy v. Howes
Leather Co., 352 U.S. 249, 256 (1957) (“The use of masters is to aid judges in the performance
of specific judicial duties . . . not to displace the court.”).

    II.    The Subpoena Imposes an Undue Burden on DEA that is Disproportionate to
           the Needs of the Case

       A party issuing a subpoena “must take reasonable steps to avoid imposing undue burden
or expense on a person subject to the subpoena.” Fed. R. Civ. P. 45(d)(1). Furthermore, a
person seeking discovery is limited to “any nonprivileged matter that is relevant to any party’s
claim or defense and proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1). Parties
seeking the production or inspection of documents within the scope of discovery “must describe
with reasonable particularity each item or category of items to be inspected.” Fed. R. Civ.
P. 34(b)(1)(A).

        Contrary to the PEC’s contention, DEA does dispute the relevance—and utility—of more
recent ARCOS data to the remaining claims in the case, as it indicated in its objection letter.
Compare PEC Letter Mot. at 2 (“DEA also appears not to dispute the relevancy of ARCOS data
for the more recent 2015 to 2019 period.”), with Ex. A, DEA Objection Letter at 2 (“More
fundamentally, it is unclear how the requested information is relevant to Plaintiffs’ claims or
proportional to the needs of the case at this juncture.”). 2 And notwithstanding that this Court
and the Sixth Circuit found the previous tranche of data relevant, the PEC has a continuing
obligation to establish why this set of evidence is relevant.

       It is unclear how updated ARCOS data would be probative of the remaining claims in the
MDL. In this regard, the PEC argues that “2015 to 2019 transactional ARCOS data is as
relevant to the cases against these Defendants being litigated in 2023 as the earlier-period data
was relevant . . . to cases against other Defendants that were being litigated five years ago in
2018.” PEC Letter Mot. at 2. The PEC also asserts that the data is “important for settlement


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  The PEC also erroneously states that based on discussions with counsel, “DEA is amenable to
producing ARCOS data for some but not all of the opioids for which it previously produced
ARCOS data in 2018.” See PEC Letter Mot. at 1. While discussions between the PEC and DEA
regarding the Subpoena were cooperative and conducted in good faith, the PEC misstates the
government’s position. Counsel for the government never indicated that DEA was amenable to
the production of additional ARCOS data—counsel indicated that DEA was amendable to
receive any proposal to narrow the scope of the Subpoena but reserved the agency’s right to
stand on its initial objections. After carefully considering at least two proposals from the PEC,
which failed to meaningfully alleviate the burden of production, the agency was unable to agree
to those proposals and reasserted its objections.
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purposes with regard to the remaining Defendants, as it provides both Defendants and the PEC
with a more current view of their relative market shares.” Id. However, the PEC has repeatedly
established liability and market share with the ARCOS data in its possession. And the PEC has
not demonstrated how additional ARCOS data would meaningfully alter that prior analysis.

        Even were the Court to find 2015–2019 ARCOS data relevant, the burden of production
must be proportional to the needs of the case. See Fed. R. Civ. P. 26(b)(1). The PEC has already
received nine years of ARCOS data, which was sufficient for Plaintiffs to successfully litigate
numerous cases in federal and state courts, and to secure tens of billions of dollars in settlements
against national opioid manufacturers, distributors, and retail pharmacies. Additional ARCOS
data will not enhance the PEC’s litigating posture or leverage in settlement negotiations.

       Providing the data requested will divert significant resources from DEA—particularly the
Reports Analysis Unit (“DOIR”), the group tasked with managing the ARCOS database—at the
expense of other mission-critical tasks, which include:

       •   producing ARCOS data to investigators in federal, state, and local government
           agencies throughout the country as requested to identify and combat the diversion of
           controlled substances into illicit channels of distributions;

       •   analyzing ARCOS data to provide field diversion investigators with tips, leads, and
           pointers of potential diversion of pharmaceutical controlled substances, including, for
           example, the identification of an unusually large influx of drugs into a particular
           county or state, which could point to illicit drug activity;

       •   providing data for use in active criminal, civil, and administrative cases;

       •   preparing regular scheduled productions of ARCOS data to law enforcement partners
           such as fourteen separate bi-annual reports for all state Attorneys General for their
           use in state law enforcement efforts; and

       •   validating ARCOS data for approximately 750 annual scheduled investigations—and
           for any resulting accountability audits—performed by DEA field offices across the
           country.

Ex. B, Howard Decl. ¶¶ 14–19. This is not a scenario where DEA can redistribute resources to
solve the problem. As June Howard, the Unit Chief of DOIR, explains in the attached
declaration “only DOIR can prepare and produce ARCOS data for litigation such as that at
issue here.” Id. ¶ 7.

         The process for compiling and producing transactional ARCOS data is not automated.
First, in phase one, data must be extracted from the ARCOS database and converted to excel. Id.
¶ 8. It must then be validated. Id. ¶ 9. To do so, DEA employees run an algorithm which
performs forty-four different checks on the data to detect inconsistencies, missing data, etc.
Though phase one is time-consuming, it is largely automated data processing. The lion’s share
of the work occurs during the second phase. In phase two, DEA employees must review any
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flagged instances and correct them. Id. For example, the system might pick up an
uncharacteristic surge of deliveries requiring DEA employees to determine whether this is a
clerical error. Id. Once all the substantive checks have been performed, the data must then be
downloaded to a shareable excel file. Id. ¶ 11.

        The PEC assumes that newer data and advances in technology will expedite this process
but provides no facts to support this assertion. It also ignores that the most burdensome process
is validation, which requires DEA employees to cross reference any anomalies identified among
millions of transactions. Validation cannot be automated, nor should it be if the parties wish to
receive accurate and reliable data.

        In DEA’s experience, such anomalies are likely to be numerous. Most of the data
requested by the PEC will have been submitted by registrants who use the Electronic Data
Interchange, or “EDI” system. Id. ¶ 10. EDI allows registrants to import their sales and
inventory data into the ARCOS database in lieu of manually uploading this information to the
ARCOS portal. Id. This results in a dataset with many disparities depending on how a
registrant organizes its data. Data submitted manually through the ARCOS portal is subject to
a soft validation before it is submitted to catch minor issues such as errors in a registrant’s
DEA number, etc. The EDI process does not have this soft validation step built in. Id.

      Ms. Howard’s unit has only sixteen employees and to produce all the data requested in
a month’s time will require the full-time effort of five. Id. ¶¶ 22, 24. Diverting these
employees to provide the PEC the requested data on a truncated timeline will prevent or delay
DOIR from completing the vital tasks described above. Id. ¶ 24.

        In evaluating the burden imposed on DEA, this Court should also consider the broader
impact opioid-related litigation has and continues to have on DEA. The agency is facing a
substantial number of requests from other parties in the MDL, in multiple other state court
proceedings, and by parties seeking documents from High Intensity Drug Trafficking Area
programs. Each request for documents or testimony diverts significant agency resources from
their core functions. The cumulative burden imposed on DEA by all of these requests—
especially given the likelihood that DEA will continue to receive similar requests (in the
MDL, remanded cases, or elsewhere)—is considerable.

   III.    The Deadline for Compliance is Unreasonable

        A court “must quash or modify a subpoena that[] fails to allow a reasonable time to
comply[ or] subjects a person to undue burden.” Fed. R. Civ. P. 45(d)(3)(A)(i), (iv). The PEC’s
subpoena does just that. Plaintiffs have given DEA a month to collect, review, and produce data
for millions of transactions across the country. Moreover, the data they request within two
weeks—complete transactional data for oxycodone, hydrocodone, hydromorphone, and
fentanyl—represents the vast majority of the data which would be produced. To comply with the
first deadline alone would require the full-time effort of every member of DOIR “with no other
tasks being worked on.” Howard Decl. ¶ 23. The next stage of production would include drugs
like morphine, which accounts for a particularly large share of the requested data and thereby
compounds the burden. This deadline for compliance is demonstrably unreasonable.
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        The review process described above could not be completed for all the data requested
within the timeline demanded by the PEC unless DEA devotes the full-time effort of at least five
diversion employees (out of an office of sixteen) at the expense of all other required tasks. Id.
¶ 24. This is unreasonable for any non-party, let alone a federal agency serving a vital public
function.

       And the PEC has failed to justify the production deadlines it has imposed. It has provided
no clear explanation as to why it needs additional ARCOS data so expeditiously at the significant
expense of DEA resources, particularly since the active bellwethers in this case have been stayed
since December.

         To the extent the PEC needs updated data to identify the next class of bellwethers, it also
knew that this selection was on the horizon, particularly since progress in Tracks 7–11 has been
stayed. The government acknowledges that the PEC is involved in all stages of the MDL
litigation, much of which occurs off the MDL docket (including related proceedings in state
court). But the PEC remains responsible for ensuring that it serves subpoenas with sufficient
time for non-parties to object to or comply with discovery demands.

                                     *              *               *

        Given the Court’s prior efforts to craft an appropriate balance in requiring the production
of ARCOS data, Plaintiffs have failed to demonstrate why additional data is needed—let alone,
expeditiously—this far into a “mature litigation” to resolve the remaining claims. See Order
Denying Transfer and Vacating Conditional Transfer Order, In re Nat’l Prescription Opiate
Litig., No. 3:21-cv-246, at *1 (J.P.M.L. Apr. 8, 2022) (finding that the MDL “has reached the
point where the benefits are outweighed by the effects” of adding new cases). Given that it
appears that the primary purpose of the data is to put finishing touches on settlement discussions
that are already informed by the previously produced ARCOS data and volumes of other
discovery in the MDL, its absence does not hamper either side’s ability to put on a case or to
reach a just settlement.

       Unlike the PEC, DEA is not a party to this litigation despite that it has been heavily
involved since the MDL’s inception. The Federal Rules of Civil Procedure protect non-parties
from undue burden or expense. See Fed. R. Civ. P. 45(d). For the reasons articulated above, the
Court should deny the PEC’s motion to enforce its unreasonable and unduly burdensome
subpoena.


                                              Respectfully submitted,

                                              MICHAEL D. GRANSTON
                                              Deputy Assistant Attorney General

                                              JAMIE A. YAVELBERG
                                              NATALIE A. WAITES
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                                          ALLISON C. CARROLL
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                       Exhibit A



     DEA Objection Letter
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                                                     U.S. Department of Justice

                                                     Civil Division
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                                                     May 25, 2023

VIA E-MAIL

Linda Singer, Esq.
Motley Rice LLC
lsinger@motleyrice.com

               Re: Subpoena to Produce Documents, Information, or Objects or to Permit
               Inspection of Premises in a Civil Action Issued to the Drug Enforcement
               Administration (May 11, 2023), In re National Prescription Opiate Litigation,
               No. 1:17-md-02804-DAP (N.D. Ohio)

Dear Ms. Singer:

        We write in response to the Subpoena to Produce Documents, Information, or Objects or
to Permit Inspection of Premises in a Civil Action Issued to the Drug Enforcement
Administration (“DEA”) on May 11, 2023 (“the Subpoena”) issued by Plaintiffs in the above-
referenced action pursuant to Federal Rule of Civil Procedure 45. A copy of the Subpoena was
sent via email and Federal Express to the United States Attorney’s Office in the Northern District
of Ohio and was transmitted to the U.S. Department of Justice (“DOJ”), Civil Division,
Commercial Litigation Branch, Fraud Section. We accepted service of the Subpoena on behalf
of DEA on May 11, 2023.

         First, we note that the Plaintiffs’ Executive Committee submitted a letter purporting to
comply with DOJ’s Touhy regulations, 28 C.F.R. § 16.21 et seq., on May 11, 2023, in connection
with the Subpoena (“Plaintiffs’ Touhy letter”). DEA and DOJ are working to process this Touhy
letter and will respond to it under separate cover in the near future. DEA and DOJ have made no
determination as to whether Plaintiffs’ Touhy letter satisfies the requirements of 28 C.F.R.
§ 16.21 et seq. Accordingly, this letter is neither an authorization nor a denial under the Touhy
regulations, and Plaintiffs shall not infer any authorization in connection with their Touhy letter.
DEA and DOJ specifically reserve all rights in connection with Plaintiffs’ Touhy letter.
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       We further advise you that DEA and DOJ object to the Subpoena. You seek the
production of complete transactional Automated Records and Consolidated Orders System
(“ARCOS”) data for all prescription buprenorphine, codeine, dihydrocodeine, fentanyl,
hydrocodone, hydromorphone, levorphanol, meperidine, methadone, morphine, opium
powdered, oxycodone, oxymorphone, and tapentadol transactions in all states and territories in
the United States for the period of January 1, 2015 through December 31, 2019.

        First, the Subpoena “fails to allow a reasonable time to comply” and subjects DEA and
DOJ to “undue burden.” See Fed. R. Civ. P. 45(d)(3)(A)(i), (iv). Plaintiffs have given DEA and
DOJ three weeks to collect, review, and produce data for millions of transactions across the
country. This time limit for compliance is demonstrably unreasonable, particularly given
Plaintiffs’ failure to adequately instruct DEA and DOJ how they expect to receive this massive
amount of data. Even were it possible to provide the data within three weeks, doing so would
require an extensive effort by DEA employees at the expense of their critical law enforcement
mission.

        More fundamentally, it is unclear how the requested information is relevant to Plaintiffs’
claims or proportional to the needs of the case at this juncture. See Fed. R. Civ. P. 26(b)(1).
Plaintiffs have already received nine years of ARCOS data, which was sufficient for Plaintiffs to
successfully litigate numerous cases in federal and state courts, and to secure tens of billions of
dollars in settlements against national opioid manufacturers, distributors, and retail pharmacies.
When the Court ordered DEA to produce the final tranche of ARCOS data in June 2018, it
unequivocally stated that, “[t]his directive for release of additional ARCOS data will be the last
one made by the MDL court.” Third Order Re ARCOS Data, In re Nat’l Prescription Opiate
Litig., No. 1:17-md-02804-DAP, at *2 (N.D. Ohio June 26, 2018) (emphasis supplied). Given an
ever-dwindling list of lingering Defendants and a court order declaring that no further ARCOS
data need be produced, Plaintiffs have failed to demonstrate why additional data is needed—let
alone, expeditiously—this far into a “mature litigation” to resolve the remaining claims. See
Order Denying Transfer and Vacating Conditional Transfer Order, In re Nat’l Prescription
Opiate Litig., No. 3:21-cv-246, at *2 (J.P.M.L. Apr. 8, 2022) (finding that the MDL “has reached
the point where the benefits are outweighed by the effects” of adding new cases).

       DEA and DOJ also object to this request to the extent that the data sought may be barred
from disclosure pursuant to the law enforcement and investigative privileges, among others. The
disclosure of 2018 and 2019 data, in particular, may undermine DEA’s ongoing diversion efforts.

        Subject to and without waiving these objections, DEA is actively assessing how it would
collect the requested data, how it could produce the data, and how long it would take to do so.

                                               *****

        Unlike the Plaintiffs, the United States is not a party to this lawsuit. The Federal Rules of
Civil Procedure protect non-parties from undue burden or expense. See Fed. R. Civ. P. 45(d).
Responding to the Subpoena as drafted would result in just such a burden and expense.
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        DEA and DOJ may raise further objections to the Subpoena as appropriate. We invite the
Plaintiffs to continue engaging with us to resolve these objections, narrow their requests, and
reduce the burden on the Department which may allow DEA to consider Plaintiffs’ Touhy
request in a more favorable light and allow the Plaintiffs to obtain what they consider probative
evidence in this case.


                                            Sincerely,

                                            /s/ F. Elias Boujaoude
                                            F. Elias Boujaoude
                                            Trial Attorney
                                            U.S. Department of Justice, Civil Division
                                            Commercial Litigation Branch, Fraud Section


Cc:    Natalie Waites, Assistant Director, Commercial Litigation Branch
       Renee Bacchus, Senior Trial Counsel (N.D. Ohio)
       James Bennett, Assistant United States Attorney (N.D. Ohio)
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                        Exhibit B



 June Howard Declaration
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